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                        IN THE DISTRICT COURT OF THE UNITED STATES
                            FOR THE DISTRICT OF SOUTH CAROLINA
                                        GREENVILLE DIVISION

UNITED STATES OF AMERICA      )              CRIMINAL No.: 8:20-cr-00452-DCC
                              )
      vs.                     )
                              )                 MOTION FOR MODIFICATION
JOHN TOWERY,                  )                 OF CONDITIONS OF RELEASE
            Defendant.        )
______________________________)

   NOW COMES the Defendant, John Towery, by and through his undersigned counsel,

requesting a modification of his bond, pursuant to 18 U.S.C. §3142. This Court granted John

Towery a $25,000.00 unsecure bond, on May 3, 2021 (ECF No. 250). His supervision is monitored

by the United States Probation Office in the United States District Court for the District of South

Carolina.


   The terms and conditions of his release include home detention, GPS monitoring and special

conditions associated with the charge. Mr. Towery and his wife own and run a horse farm on

their property located in Westminster, South Carolina. Mr. Towery is currently on home

detention which does not enable him to leave his residence to tend to his animals or property.

Mr. Towery has complied with the terms and conditions of his release and bond. Mr. Towery

would now respectfully request that his bond conditions be modified to remove the home

detention restriction with all the other bond conditions remaining in effect.


   The undersigned attorney and counsel of record does hereby certify that he conferred with

Carrie Fisher Sherard, Assistant United States Attorney, and she has advised that she does not

oppose the relief requested in this motion for the removal of the home detention condition. The
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undersigned counsel has also conferred with U.S. Probation Officer, Cornelius Sterling, who has

advised that he does object to the relief requested in this motion.


       For the foregoing reasons, John Towery would respectfully request a hearing for the

modification of his bond and conditions of his release to remove the home detention restriction.


                                                    Respectfully submitted,


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June 23, 2021
Anderson, South Carolina
